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             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                NO. 4:07CR00163-001 SWW

JACK RONDLE PIPKIN



                           JUDGMENT OF ACQUITTAL

      This action came on for trial on May 12, 2008, before the Court and

a jury, the Honorable Susan Webber Wright, United States District Judge,

presiding.   At the conclusion of testimony for the parties, arguments of

counsel and due deliberation by the jury on May 16, 2008, a verdict of

not guilty was returned on Counts 3, 4, 8, 9, 11, 12, 14, 15 and 16.

      IT IS THEREFORE ORDERED AND ADJUDGED that defendant Jack Rondle

Pipkin hereby is acquitted of the charges set out in Counts 3, 4, 8, 9,

11, 12, 14, 15 and 16 of the second superseding indictment and, pursuant

to the verdict, defendant hereby is discharged of such Counts.

      Dated this 21st day of May, 2008.



                                          /s/Susan Webber Wright

                                          UNITED STATES DISTRICT JUDGE
